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SOUTHERN I)ISTRICT OF CAFIFORNIA

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
vS.

BLOCKVEST, LLC and REGINALD
BUDDY RINGGOLD, III a/k/a RASOOL
ABDUL RAHIM EL,

Defendants.

 

 

 

 

Case NO. 913 mg EES?GPC BLNB

P INTIFF SECURITIES ANI)
E HANGE COMMISSION’S
EX PARTE APPLICATIoN FOR
A TEMPORARY RESTRAINING
ORDER AND 0RDERS= (1)
FREEZING ASSETS; (2)
PROHIBITING THE
DESTRUCTION OF
I)OCUMENTS; (3) GRANTING
EXPEDITED DISCOVERY; ANI),
(4) REQUIRING ACCOUNTING;
AND ORDER To SHOW CAUSE
RE PRELIMINARY
INJUNCTION d
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Plaintiff Securities and Exchange Commission (“SEC”) applies pursuant to
Fed. R. Civ. P. 65 (b) for a Temporary Restraining Order prohibiting defendants
Blockvest LLC (“Blockvest”) and its founder and principal, Reginald Buddy
Ringgold, III, aka Rasool Abdul Rahirn El (“Ringgold”), from committing
violations of the antifraud and registration provisions of the federal securities laws,
and for orders freezing assets, prohibiting the destruction or alteration of
documents, granting expedited discovery, and requiring accountings from each of
defendants. In addition, the SEC applies for an Order to Shovv Cause Re
Preliminary Injunction. This Application is based on the SEC’s complaint, as Well
as its accompanying Memorandum of Points and Authorities, its supporting
declarations and exhibits, and any such other evidence and argument as the Court
may receive and permit.

A. Basis for Waiver of Notice Under Rule 65(b)

Counsel for the SEC has not advised defendants or their counsel of the date,
time, or substance of its Application, and the SEC applies for emergency injunctive
relief on an ex parte basis. Waiver of notice to defendants is appropriate pursuant
to Fed. R. Civ. P. 65(b) and U.S. Dist. Ct. S.D. Local Rule 83.3(g)(2), because the
specific facts set forth in the evidence submitted With the Application establish that
immediate and irreparable injury, loss, or damage will result if defendants are
notified of the SEC’s Application prior to it being heard. This is true because
defendants’ fraudulent scheme is ongoing.

As set forth in more detail in the SEC’s supporting papers, this case
concerns ongoing investment fraud arising from defendants’ fraudulent offer and
sale of unregistered securities in the form of digital assets or “tokens” called
“BLVs.” Beginning in March 2018, Ringgold has orchestrated the fraudulent
offering of BLVs_claiming to have raised more than $2.5 million from investors,

and to have sold 9 million tokens, in “pre-sales” alone, prior to the $100 million

 

 

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initial coin offering (“ICO”) defendants are planning for later this year. BLVs are
designed to fund Blockvest’s development of digital-asset related financial
products including the “first [U.S.] licensed and regulated tokenized crypto
currency exchange and index fund.” However, while defendants represent that
Blockvest or its ICO are “approved by” or “regulated by” the SEC (and other
regulators), Blockvest has no such approval for the ICO. Blockvest similarly
claims to be “audited” by Deloitte; it is not. Defendants further give investors the
false appearance that the ICO is a secure investment by promoting, when they
promote the ICO, a fictitious regulatory entity called the Blockchain Exchange
Commission, or “BEC,” which was founded by Ringgold. But the BEC is
designed to mimic the SEC_ii‘om its eagle logo, to its mission statement
regarding the protection of investors, to its claim to be located in SEC headquarters
and its website linking to the SEC’s own Website. Ringgold’s blatant deceptions
about Blockvest and the BEC continue to this day. lnvestors have no protection_
absent Court order_against his continued violations

The SEC submits that, if defendants are given notice of the Application, they
will continue their fraudulent scheme and may dissipate and misuse funds from
new and existing investors, thus placing the funds beyond the reach of the Court.
The risk of dissipation of investor funds is heightened because this case involves
digital assets, which can be transferred or secreted nearly instantaneously and are
extremely difficult to trace. The danger of asset dissipation and continuing
unlawful conduct are each independently accepted bases for granting a temporary
restraining order without notice under Rule 65(b). See, e.g. , SEC v. Schooler, No.
12_CV_2164_LAB_JMA2012 WL 4049956, at *2 (S.D. Cal. Sept. 13, 2012); 3BA
Im"l LLC v. Lubahn, No. C10-829RAJ, 2010 WL 2105129, at *5 (W.D. Wash.
May 20, 2010). The Court’s immediate intervention would help prevent

continuing violations of the federal securities laws and preserve the status quo.

 

 

 

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See Granny Goose Foods, Inc. v. Brotherhood Of Teamsters & Auto Truck Drivers,
415 U.S. 423, 439 (1974) (purpose of temporary restraining order is “preserving
the status quo and preventing irreparable harm just so long as is necessary to hold a
[preliminary injunction] hearing, and no longer”).

B. Request to File the TRO Application under Seal

Because its Application is made without notice, the SEC has concurrently
filed a separate ex parte motion that the Court seal this Application and the
supporting documents The requested sealing order is of limited duration_the
SEC asks only that the documents be sealed until three business days after the
Court issues its decision. The SEC makes this request to prevent defendants from
transferring or secreting assets, including digital assets that can be moved nearly
instantaneously, until the Court has issued a ruling on the SEC’s Application. If
the papers are not filed under seal, posting them on PACER would make the
Application and supporting papers publicly available, defeating the purpose of
filing the Application without notice. If defendants receive notice of the matter
before the Court issues its ruling, they may destroy or alter materials that may
transfer, dissipate, or conceal assets before the requested asset freeze is put in
place.

. C. Relief Requested

Because of the ongoing nature of the fraudulent scheme, the SEC seeks to
temporarily enjoin defendants from violating Sections 5 (a), (c) and l7(a) of the
Securities Act of 1933 (the “Securities Act”), 15 U.S.C. §§ 77e; q(a), and Section
10(b) of the Securities Exchange Act of 1934 and Rule 10b-5 thereunder, 15
U.S.C. § 78j(b); 17 C.F.R. § 240.10b-5.

Because of the danger that defendants Will dissipate investor funds, the SEC
also seeks to freeze the assets of the each of defendants and their subsidiaries and

affiliates The SEC further requests orders prohibiting the destruction or alteration

 

 

 

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of documents, granting expedited discovery, and requiring defendants to provide
accountings. Finally, the SEC requests an order to show cause why a preliminary

injunction should not be granted.

Dated: October 2, 2018 Respectfully submitted,

/s/Amy Jane Longo

 

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Securities and Exchange Commission

 

 

